                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
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                                                                                    JUL 312023
KENNETH MARK HAY,                      )
           Plaintiff,                  )
                                                                                9:J}.jtJ~tCourt
                                                                             By:~       ueputy Clerk
                                       )
                                       )
Versus                                 )                Case No. 23-3175-JWL
                                       )
                                       )
Applequist, et. al.,                   )
                Defendants,            )




                          MOTION TO AMEND PLAINTIFF's RELIEF



COMES NOW, the Plaintiff, Mr. Kenneth Mark Hay, by and through himself, Pro-Se, before
this Honorable Court to humbly submit this Motion to Amend Plaintiffs Relief.


The Plaintiff asks for the following Amended Prayer for Relief:
WHEREFORE, Plaintiff respectfully prays that this comi enter judgment granting plaintiff:


1.       A declaration that the acts and omissions described herein violated plaintiffs rights under
the Constitution and laws of the United States. And to a declaration that the KSVPA and SPTP
are Unconstitutional and Punitive.
2.       A preliminary and permanent injunction ordering defendants, Ms. Dipeman, Ms.
Applequist, Ms. Bennett, and Ms. Kidd, to cease violating the Plaintiffs Constitutional and
Statutory Rights as stated by the Plaintiff in this action.
3.       Compensatory damages in the amount of $50.75 million dollars against each defendant,
jointly and separately.
4.       Punitive damages in the amount of $50.75million dollars against each defendant.
5.       To have all Bank Accounts, Credit Card Accounts, Stocks, Bonds, 401K's, IRA's,
Retirement Funds, any and all Assets Frozen and Seized and turned over to the Plaintiff.


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6.     To have the Defendants be prevented from working in the Medical, Mental Health and
Correctional Environment/Field in the United States for good.
7.     To have the Defendants personally apologize to every resident in SPTP in person for 30
years of Suffering and Humiliation.
8.     To have the Plaintiff deported to Scotland or Ireland.
9.     A jury trial on all issues triable by jury.
10.    Plaintiff's costs in this suit.
11. And any and all relief this Comi deems fit to add.




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                                                                      1301 Kansas Highway 264
                                                                          Larned, Kansas 67550
                                                                       620-285-4 777 extension 7



                                   CERTIFICATE OF SERVICE

I, KENNETH MARK HAY, hereby certify that a true and correct coriy of this Motion to Amend
Plaintiff's Relief was sent, Postage Prepaid, by U.S. Mail, on this 26 11 day of July 2023 to the
following:

United States District Court
444 S.E. Quincy
Room 490
Topeka, Kansas 66683

Kansas Attorney General's Office
C/O Mr. David Davies
120 S.W. 10th Street
2 nd Floor
Topeka, Kansas 66612




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